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                                                                                        LUKE A. CONNELLY
                                                                                                         Partner
                                                                                                   212-294-6882
                                                                                          LConnelly@winston.com
November 4, 2020


Hon. Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square, Room 2203
New York, NY 10007

       Re:     Beat the Streets Wrestling, Inc., v. Arthur J Gallagher Risk Management Services, Inc.,
               Case No. 20-CV-7265 (RA), Request for Extension of Time

Dear Judge Abrams:

        This firm represents Defendant Arthur J. Gallagher Risk Management Services, Inc. (“Gallagher”)
in the above-referenced matter. We write pursuant to Local Rule 7.1(d), and your Honor’s Individual Rule
1.D, to request an extension of Gallagher’s time to answer, move or otherwise respond to the Complaint
(ECF No.1). The original due date for Gallagher to respond was September 30, 2020. On September 28,
2020, the Court granted Gallagher’s first request for an extension to November 9, 2020 (ECF No. 12).
Gallagher respectfully requests that the Court extend the deadline for Gallagher to answer, move or
otherwise respond to the Complaint to December 10, 2020. This is Gallagher’s second request for an
extension.

        In addition, the parties’ joint status letter, proposed case management plan, and scheduling order
are due on November 13, 2020, and the parties’ initial status conference is set for November 20, 2020 at
3:30 pm (ECF No. 7). Gallagher respectfully requests that the Court extend the deadline for the parties’
joint status letter, proposed case management plan, and scheduling order to December 14, 2020, and
reschedule the initial status conference to a date on or after December 22, 2020. This is Gallagher’s first
request for an extension of these deadlines.

       Plaintiff does not object to these extensions. Counsel for both parties have been in discussions
about this case and have agreed to the proposed extensions.

       Thank you in advance for the Court’s attention to this letter motion. Please let us know if the Court
needs any additional information to grant the extension. Gallagher respectfully requests that the Court
approve the requested extension of time by endorsing this letter-motion.

                                             Respectfully submitted,

                                             s/ Luke A. Connelly
                                             Luke A. Connelly
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                                            WINSTON & STRAWN LLP
                                            200 Park Avenue
                                            New York, NY 10166
                                            Telephone: (212) 294-6700
                                            Facsimile: (212) 294-4700
                                            Email: lconnelly@winston.com


cc:   All Counsel of Record (via ECF)




          Application granted. Defendant’s time to respond to the Complaint is extended to
          December 10, 2020. No later than December 15, 2020, the parties shall submit a
          joint letter, case management plan, and proposed scheduling order. The initial
          status conference scheduled for November 20, 2020 is hereby adjourned to
          Tuesday, December 22, 2020 at 11:15 a.m.

          SO ORDERED.


                           ______________________
                           Hon. Ronnie Abrams
                           11/5/2020
